THIS is an original proceeding in this court against one of its officers, for an abuse of his privileges and a violation of his trust as such.
The committee on grievances of the Colorado Bar Association is, by our rules, made an arm of this court for *Page 89 
the purpose of assisting us in exercising that superintending control over the practice of the law necessarily vested here by the very nature of our system of government and confirmed by numerous statutes.
This action was begun by a complaint filed with the court, through its said committee, under rule 84h. A hearing was held thereon upon due notice to Kelley, testimony received, and a report made recommending suspension for a term named, and until on application Kelley should have shown himself fit to resume the practice. Upon consideration of that report the Attorney General was directed to proceed accordingly. To the complaint thereupon filed the defendant answered, admitting the facts and denying only the conclusion that he was thereby shown to have "been guilty of moral turpitude," or to have "willfully violated the canons of ethics of the legal profession." Petitioner moved for judgment. Respondent had filed his brief with the committee and was heard orally by the court.
All the facts are admitted. To detail them at length would be profitless. Those that are material are few and simple. To state them and pronounce judgment is all that is required.
[1] A dispute arose between McCune and Hower concerning the possession of certain personal property. Which was in the right is here immaterial. An orderly and legal remedy existed for the settlement of that question. A reputable lawyer was bound to resort thereto or keep out of the controversy. Kelley, representing McCune, attempted to intimidate Hower, and twice threatened him with criminal prosecution. These tactics failing, he obtained police assurance that he might resort to force without interference. He thereupon associated others with him, returned to the room where the property was located, and, without any vestige of legal authority, broke down the door, took possession, and held it over night. Removal was only prevented by the building manager's refusal of elevator service. Kelley's threats rendered *Page 90 
him liable to a fine of $500 and six months' imprisonment. § 6821, C. L. 1921. In the employment of force and intimidation he was resorting to the methods of a highwayman, not a lawyer. His admitted reliance upon freedom from police interference has a sinister significance in the light of the known facts. His senior partner (his Uncle) was a member of the city civil service commission, which controls the appointment, promotion and discipline of members of the police force. A lawyer with such an actual or supposed influence, willing to resort to strong-arm methods in representing litigants, is a terrible menace in a community. Hence this respondent must be vigorously dealt with.
As against the extreme penalty we consider respondent's years and his previous good record, and we think the personal attitude, or partnership policy, which produced this misconduct ought not be charged solely to the junior member of the firm.
The judgment of the court, therefore, is that respondent be indefinitely suspended from the practice of his profession.